

Matter of Hobel (2021 NY Slip Op 03511)





Matter of Hobel


2021 NY Slip Op 03511


Decided on June 3, 2021


Appellate Division, Third Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered:June 3, 2021

PM-68-21
[*1]In the Matter of Lawrence Allen Hobel, an Attorney. (Attorney Registration No. 4496303.)

Calendar Date:June 1, 2021

Before:Lynch, J.P., Clark, Aarons, Pritzker and Colangelo, JJ.

Lawrence Allen Hobel, Berkeley, California, pro se.
Monica A. Duffy, Attorney Grievance Committee for the Third Judicial Department, Albany, for Attorney Grievance Committee for the Third Judicial Department.



Per Curiam.
Lawrence Allen Hobel was admitted to practice by this Court in 2007 and lists a business address in San Francisco, California with the Office of Court Administration. Hobel now seeks leave to resign from the New York bar for nondisciplinary reasons (see  Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [a]). The Attorney Grievance Committee for the Third Judicial Department (hereinafter AGC) advises that it does not oppose Hobel's application.
Upon reading Hobel's affidavit sworn to April 10, 2021 and filed April 14, 2021, and upon reading the May 20, 2021 correspondence in response by the Chief Attorney for AGC, and having determined that Hobel is eligible to resign for nondisciplinary reasons, we grant his application and accept his resignation.
Lynch, J.P., Clark, Aarons, Pritzker and Colangelo, JJ., concur.
ORDERED that Lawrence Allen Hobel's application for permission to resign is granted and his nondisciplinary resignation is accepted; and it is further
ORDERED that Lawrence Allen Hobel's name is hereby stricken from the roll of attorneys and counselors-at-law of the State of New York, effective immediately, and until further order of this Court (see generally  Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [b]); and it is further
ORDERED that Lawrence Allen Hobel is commanded to desist and refrain from the practice of law in any form in the State of New York, either as principal or as agent, clerk or employee of another; and Hobel is hereby forbidden to appear as an attorney or counselor-at-law before any court, judge, justice, board, commission or other public authority, or to give to another an opinion as to the law or its application, or any advice in relation thereto, or to hold himself out in any way as an attorney and counselor-at-law in this State; and it is further
ORDERED that Lawrence Allen Hobel shall, within 30 days of the date of this decision, surrender to the Office of Court Administration any Attorney Secure Pass issued to him.








